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                         UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF FLORIDA

    Before The Honorable Beth Bloom, Judge

    IRA KLEIMAN, et al.                 )
                                        )
                 Plaintiffs,            )
                                        )
       VS.                              )     NO. 18-CV-80176-BB
                                        )
    CRAIG WRIGHT,                       )
                                        )
                 Defendants.            )
                                        )

                                    Miami, Florida
                                    Friday, November 19, 2021

                      TRANSCRIPT OF JURY TRIAL, DAY 13

                              (AFTERNOON SESSION)

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                (APPEARANCES CONTINUED ON FOLLOWING PAGE)

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                        Official Court Reporter
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1    APPEARANCES:    (CONTINUED)

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1                                   I N D E X

2    Friday, November 19, 2021 - Day 13

3    DEFENDANT'S WITNESSES                                        PAGE    DAY

4    KLIN, AMI
     (PREVIOUSLY SWORN)                                              12   13
5    Cross-Examination (Resumed) by Mr. Brenner                      12   13

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1    Friday - November 19, 2021                                   1:38 p.m.

2                            P R O C E E D I N G S

3                                    ---000---

4         (Proceedings were heard out of the presence of the jury:)

5              THE COURT:    All right.    Welcome back.    I trust

6    everyone had a nice lunch.       Please be seated.

7         Unfortunately, we are awaiting for one more juror that's

8    not yet returned.

9              MR. FREEDMAN:    Your Honor, we have two housekeeping

10   matters we'd like to bring up with the Court.

11             THE COURT:    Okay.    All right.

12             MR. FREEDMAN:    The first is we were talking -- Ms.

13   McGovern and I were talking a little bit.         We're trying to

14   figure out the scheduling.

15        And I don't know if the Court's amenable to it, but maybe

16   the jurors will be amenable to it, starting early Monday, going

17   late Monday, starting early Tuesday, going late Tuesday.           It

18   might avoid having to go past Thanksgiving.

19        Obviously, it's for the Court to decide if you even want

20   to pose the question, but the parties would be amenable to

21   that; right?

22             MR. RIVERO:    Judge, to me, it depends on how early and

23   how late.

24                                   (Laughter)

25             THE COURT:    Well, I can tell you how early.
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1    Obviously, we are dictated in the morning by one of the jurors'

2    schedules, and we do have a sentencing hearing at 9:00 o'clock.

3    So I would suggest that on Monday, we can start as early as

4    9:30.

5         In the afternoon, it's all dependent upon the jurors'

6    schedule.   I can stay through the evening, but that really

7    depends upon their schedule.

8              MR. FREEDMAN:    The -- so if the Court would find out

9    about their schedules and let us know.        If it's not too late,

10   maybe Mr. Rivero can stay with us.

11             THE COURT:    But -- but let me say this.       I certainly

12   don't want to bring in jurors early and have them leave late if

13   we're truly not going to be able to finish.

14        So do you believe that given -- let's say we start 30

15   minutes earlier on Monday and Tuesday and perhaps we -- we go

16   until 6:00 o'clock as opposed to 5:00 o'clock.         Would the

17   additional two hours, three hours --

18             MR. FREEDMAN:    Your Honor, it depends on --

19             THE COURT:    -- give you enough time?

20             MR. FREEDMAN:    I -- it just depends on what's brought

21   out in direct.    I can't tell you.     I want to maximize the

22   chances of that happening.      I know that everyone wants to have

23   this case resolved before Thanksgiving, if that's possible, but

24   I just can't tell you what's going to come out on direct.

25             MR. RIVERO:    Judge, from our perspective, we have two
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1    witnesses left to put on, and I think that -- I can't say with

2    precision, but I think they're relatively narrower

3    examinations.    It all -- it really depends on the cross.

4                                  (Laughter)

5              MR. FREEDMAN:    Your Honor, if there are narrow

6    directs, there will be narrow crosses.        I can assure you they

7    will be short.

8              THE COURT:    All right.    Well, let's do this.

9         Do we have our --

10             MR. FREEDMAN:    Your Honor --

11             COURT SECURITY OFFICER:      Not yet, but he's on the way.

12             MR. FREEDMAN:    Your Honor, we have one other -- one

13   other issue, which is if closing will happen on Monday or

14   Tuesday, we need rulings on jury instructions.

15             THE COURT:    Of course.

16             MR. FREEDMAN:    And so I don't know when the Court --

17   if the Court is going to hold a charge conference or not or --

18             THE COURT:    Well, I have your proposed -- I have your

19   proposed instructions, and I -- I've been going through the

20   instructions, and I plan on, at the appropriate time, giving

21   you a set of the instructions, and you can make any additional

22   objections on the record.

23             MR. FREEDMAN:    Okay.    And, Your Honor, we have one or

24   two adverse inference instructions that we were hoping to

25   propose to the Court based on conduct that occurred during
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1    trial.   I don't know if the Court wants to set a deadline on

2    when we get that to you, but we can try to get it ASAP or over

3    the weekend.

4              MS. MCGOVERN:    Your Honor, we also -- the defense also

5    has a few modifications, and there may be, depending upon what

6    happens in the papers, additionals.        But if there's a deadline

7    where we can submit minor -- minor adjustments in light of the

8    proceedings, then we would appreciate the opportunity to do

9    that.

10             MR. FREEDMAN:    And we would just -- we would object to

11   any modifications to proposed jury instructions on prejudice

12   grounds, but if there's additional proposals that weren't

13   covered, that would be something different.

14             THE COURT:    Right.   You've each submitted your

15   proposed jury instructions, proposed verdict form.

16        If there are additional instructions based on what took

17   place during the course of the trial, I would request by

18   tomorrow at 5:00 p.m. -- if you'll file those additional

19   instructions so this way I can work on that on Sunday.

20        And on Monday, we can be prepared to give you a set of

21   instructions, and we can address any issues before we -- we

22   close all the evidence.

23             MR. FREEDMAN:    Thank you, Your Honor.

24             MS. MCGOVERN:    Thank you, Your Honor.

25             THE COURT:    Okay.    Do we have our last juror?
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1              THE CLERK:    He's on his way.

2              THE COURT:    All right.    Unfortunately, because we

3    didn't have all the jurors, we were not able -- Liz was not

4    able to bring them into the conference room just to have them

5    compare the jury room, which -- I know you've seen the

6    conference room, which is a lot larger.        So we hope to do that

7    today when we adjourn at 3:00 o'clock.

8         I would suggest on Monday, perhaps during the lunch

9    recess, that Liz can bring you back into the conference room,

10   depending upon whether they feel more comfortable in this jury

11   room or in the conference room to deliberate.

12        In terms of the schedule, I will ask Liz to see if they

13   are able to come in at 9:30 on Monday and Tuesday and if

14   they're able to stay later until 5:30, 6:00 o'clock on Monday

15   and Tuesday.

16        That gives us additional time with the understanding that

17   we'll represent that we're hoping to have the case in their

18   hands for their deliberation on Tuesday the 23rd.          They can

19   take as much time as they need to deliberate, and they would

20   then come back on the 28th to continue their deliberations.

21        Would that be acceptable to both sides?

22             MR. FREEDMAN:    Yes, Your Honor.

23             MR. RIVERO:    Yes, Your Honor.

24             THE COURT:    Okay.   Do we have the doctor with us?

25        Any other issues we need to address at this time?
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1              MR. FREEDMAN:    Not for plaintiffs, Your Honor.

2              COURT SECURITY OFFICER:        Not yet.

3              THE COURT:    All right.    Then we can talk a little bit

4    about what is needed before the close of the evidence.

5         As I stated, we do need to have at least two clean

6    laptops, if you have additional laptops, since we have ten

7    jurors that will, it appears, all be deliberating.          And I

8    would -- I would request that the clean laptop contain nothing

9    other than the uploaded exhibits.

10        And if you'll have a paper exhibit list that,

11   Mr. Freedman, I think you're responsible for -- that will list

12   all the exhibits with the exhibit number that will correspond

13   to what's contained on the laptop.

14             MR. FREEDMAN:    So, Your Honor, I wanted to actually --

15   I forgot about that, and my colleagues flagged that for me.

16        Earlier, you had -- you had said something about removing

17   the plaintiff and defendant designations, the P and D

18   designations, from the exhibits.         And actually, I didn't have a

19   chance to talk to my friends on the other side here, but we

20   don't think that's a great idea.

21             THE COURT:    Yeah.    Yeah.    No.   And I apologize if I

22   misspoke in terms of taking the name of it as Plaintiffs'

23   Exhibit 464 in terms of the exhibit list.           It's just the

24   exhibit list of the case.       I just didn't want it to say --

25             MR. FREEDMAN:    Oh.
                                                                                 10
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1              THE COURT:    -- "Plaintiffs' Exhibit List" --

2              MR. FREEDMAN:     Oh.   Yes.

3              THE COURT:    -- "Defendant's Exhibit List."       Just one

4    exhibit list.

5              MR. FREEDMAN:     Right.

6              THE COURT:    So if we can combine the exhibits -- they

7    obviously have a name of a joint exhibit, defendant's exhibit,

8    and plaintiffs' exhibit.      So if I -- if I conveyed something

9    different, I apologize, Mr. Freedman.

10             MR. FREEDMAN:     Understood.

11         We'll create a neutral exhibit list and make sure defense

12   signs off on it, and we'll get that ready.

13             MR. RIVERO:    Judge, on the subject just briefly -- and

14   I -- we understood what the Court was saying, but the -- on the

15   question of the laptops, we -- two of our colleagues are going

16   to be consulting with -- with plaintiffs' counsel.          They've

17   offered two computers.      We think we'll have at least one.

18         So we'll have at least three, maybe four laptops, and our

19   technical people from our side will make sure there's

20   nothing --

21             THE COURT:    All right.    And if we can take the time

22   this weekend to review the exhibits, I know you were going to

23   confer to see if you each agreed on the exhibits that were

24   admitted into evidence.      So if there is some discrepancy, we

25   can go back to the record.
                                                                                 11
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1               MR. BRENNER:    My understanding is there's one

2    discrepancy, Your Honor, maybe on that list, and I can tell you

3    what happened.

4           It was P-37.   If you'll recall, Your Honor, we were doing

5    the Bit messages.     You initially sustained an objection to

6    P-37.    Then we got P-51.    You reconsidered.     P-51 is basically

7    P-37, just a different date.

8           And so if you look just at the transcript, it says, "P-37

9    sustained."    When you get to P-51, you get "Overruled."         When

10   you get to a later one, you say, "Isn't this the same as 37 and

11   51?"

12          So I think that's the one discrepancy at least as of

13   yesterday.

14              THE COURT:   Well, I'm showing P-51, the Warren

15   deposition, Exhibit P-11, was admitted into evidence --

16              MR. BRENNER:    Right.

17              THE COURT:   -- as well as P-37, the email from D.

18   Kleiman to C. Wright re requested attached Tulip trust.

19              MR. BRENNER:    We think 37's in.     That was the only

20   discrepancy.

21              THE COURT:   Okay.   My -- my line shows that it was

22   admitted into evidence.

23              MR. BRENNER:    Okay.

24              THE COURT:   Is he here?

25          All right.   Our last juror is here.
                                                                                 12
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                            KLIN - CROSS / BRENNER

1          Anything further to address?

2              MR. FREEDMAN:     No, Your Honor.    Thank you.

3              THE COURT:    Okay.    I'll just remind you we're not

4    going to take a break.      We're going to move through to

5    3:00 o'clock.

6              MR. BRENNER:     3:00 o'clock.

7              COURT SECURITY OFFICER:      All rise for the jury,

8    please.

9          (Proceedings were heard in the presence of the jury:)

10             THE COURT:    All right.    Welcome back, ladies and

11   gentlemen.    I trust you had a pleasant lunch and ready to get

12   back to work.

13         And we will continue through -- go ahead and have a seat.

14   We'll continue through until 3:00 o'clock, and then, as I

15   stated, we'll adjourn for the day and for the weekend.

16             MR. BRENNER:     Thank you, Judge.

17                                   AMI KLIN,

18   called as a witness for the Defendant, having been previously

19   duly sworn, testified further as follows:

20                        CROSS-EXAMINATION (RESUMED)

21   BY MR. BRENNER:

22   Q.    Okay.   Good afternoon, Dr. Klin.

23   A.    Good afternoon.

24   Q.    Okay.   So we left off on the video.       I want -- I now want

25   to move into the materials, and let me be clear.          Before --
                                                                                 13
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                            KLIN - CROSS / BRENNER

1    when I say "materials," I'm not talking about the interviews

2    you did.     I'm talking about materials that were provided to you

3    by Dr. Wright's lawyers.      Okay?

4    A.    Yes.

5    Q.    Okay.    So you listed those in your report.

6               MR. BRENNER:    If I can bring that up as a

7    demonstrative, Your Honor, the list of his materials that he

8    was given.

9               THE COURT:   All right.

10              MR. BRENNER:    May I publish?

11              THE COURT:   Okay.

12              MR. BRENNER:    May I publish that?

13              THE COURT:   Yes, you may show that.

14   BY MR. BRENNER:

15   Q.    Okay.    So, Dr. Klin -- just so -- this is just from --

16   something you prepared, which is the list you prepared.           Got

17   that?

18   A.    Yes.

19   Q.    Okay.    So I want to go through and tell -- and explain to

20   the jury -- have you explain to the jury what these things are,

21   and you tell me which side of the ledger they go on.           Okay?

22         So the first one is a -- it says, "Transcript of

23   Evidentiary Hearing Proceedings"; right?

24   A.    Correct.

25   Q.    That was a -- literally a written deposition transcript;
                                                                                 14
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                            KLIN - CROSS / BRENNER

1    right?   Not this one, but this is what it looked like; right?

2    A.    Correct.

3    Q.    Right.    So it's -- so that's just words on paper, no

4    video; right?

5    A.    Correct.

6    Q.    Okay.    That -- is that fair to put on the "Litigation

7    Craig" side?

8    A.    I'm sorry.     Could you explain to me your ledger?

9    Q.    Oh.    Sure.   Well, luckily, someone rewrote it for me, but

10   I'll now ruin it again.

11         So on the left side of the ledger is things about Craig

12   Wright that are taking place during litigation.          Okay?

13   A.    Okay.

14   Q.    And then the other side is "Outside Litigation"?

15   A.    Okay.

16   Q.    So the first one you told me was the YouTube video.          That

17   was "Outside Litigation"?

18   A.    Yes.

19   Q.    That's why it's there.

20         So the deposition -- the -- the transcript -- it was a

21   transcript of him testifying; right?

22   A.    Correct.

23   Q.    Okay.    So it was questions and answers on a piece of

24   paper; right?

25   A.    Yes, sir.
                                                                                 15
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                            KLIN - CROSS / BRENNER

1    Q.    And that is -- can we put that on "Litigation Craig"?

2    A.    Yes.

3    Q.    Okay.   So we're going to call that "Written Transcript."

4    Okay?

5    A.    Okay.

6    Q.    The second thing on the list is -- it says, "Videotaped

7    deposition of Dr. Craig Steven Wright taken on April 4th."

8          Do you see that?

9    A.    Yes.

10   Q.    And it says -- actually, it has my law firm, Boies

11   Schiller & Flexner; right?

12         Do you see that?

13   A.    Yes.

14   Q.    Okay.   And it says there's -- there's six -- I don't

15   know -- there's six things on the bottom that say, "CW," and

16   they have different numbers.

17         Do you see that?

18   A.    Yes.

19   Q.    And those are -- those are digital video files?

20   A.    Correct.

21   Q.    And those were videotapes -- correct me if I'm wrong.

22   Those were videotapes of Dr. Wright giving a deposition; right?

23   A.    Correct.

24   Q.    Okay.   And it says there -- there's eight hours of them.

25   Is that consistent with your recollection?
                                                                                 16
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                            KLIN - CROSS / BRENNER

1    A.    Yes.

2    Q.    And it was just broken down into -- what was it?          Six

3    videos or five?

4    A.    That's, I believe, six.

5    Q.    Ah.    We both got it wrong.    Seven.

6    A.    Seven.

7    Q.    Okay.    So long as we're both wrong, we're okay.

8          So is that fair to put on the "Litigation Craig" side?

9    A.    Yes.

10   Q.    Okay.    So we'll call that "Eight Hours' Video Depo";

11   right?   Fair?

12   A.    Yes.

13   Q.    Okay.    And let me just make sure -- is that -- is that the

14   grand total of what they gave you as far as materials?

15   A.    I believe so, yes.

16   Q.    Okay.    I just want to make sure I didn't cut off to the

17   next page.

18         Okay.    So does that refresh your recollection that what

19   they were asking you to do, as you stated in your letter, was

20   they would ask you to analyze as part of Question 2 how

21   Dr. Wright presents in court proceedings and depositions?             Does

22   that refresh your recollection?

23   A.    My recollection is that they were puzzled by the way that

24   Dr. Wright presented in a -- in a legal setting.

25   Q.    Correct.
                                                                                 17
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                            KLIN - CROSS / BRENNER

1          And they wanted you to analyze that?

2    A.    Correct.

3    Q.    Got it.

4              MR. BRENNER:     Okay.   You can take that down, please,

5    Ms. Vela.

6    BY MR. BRENNER:

7    Q.    Now, the next -- when I say "the next thing," I'm just

8    sort of feeling out the scope of the information, and you

9    talked about this a little on direct.

10         You talked to some family members.       Do you remember that?

11   A.    Yes.

12   Q.    Okay.   Now, the contact info -- information -- excuse me.

13   The contact information you received from each of those -- each

14   of the family members came from Dr. Wright's lawyers; correct?

15             MS. MCGOVERN:     Objection.    Mischaracterizes the

16   testimony.

17             THE COURT:    I'm sorry.    The objection is?

18             MS. MCGOVERN:     Objection.    Mischaracterizes the

19   testimony of direct.

20             THE COURT:    Overruled.    I'll allow it.

21   BY MR. BRENNER:

22   Q.    Is that correct?

23   A.    Well, I defined the people that I needed to speak to and

24   asked them to provide me with the information.

25   Q.    Well, actually, Doctor, what happened is you don't know
                                                                                 18
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                            KLIN - CROSS / BRENNER

1    until you -- you don't know Dr. Wright before you talked to the

2    lawyers; correct?

3              MS. MCGOVERN:     Objection.    Argumentative.

4              THE WITNESS:     Correct.

5              THE COURT:    I'm sorry?

6              MS. MCGOVERN:     Argumentative.

7              THE COURT:    Overruled.

8    BY MR. BRENNER:

9    Q.    Okay.    So what you told the lawyers is you wanted to talk

10   to people, for example, that knew him as a child; right?

11   A.    Correct.

12   Q.    And you wanted to talk -- you said it's important to talk

13   to -- I think you said -- I think -- I think you used the word

14   "spouse."     It's important -- if there's a spouse, that's

15   important?

16   A.    Absolutely.

17   Q.    Right.    So you laid out the categories of people you were

18   looking for, but they picked the people because you don't know

19   any of them?

20   A.    Well, yes.

21   Q.    Okay.

22   A.    You're right.

23   Q.    So they put you in touch with -- let's just go through

24   these real quick.     They put you in touch with -- well, first of

25   all, they put you in touch with Dr. Wright?
                                                                                 19
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                            KLIN - CROSS / BRENNER

1    A.     Correct.

2    Q.     Okay.    Now, all these -- by the way -- we'll get this in

3    more detail, but when you talked to all of these people, you

4    talked to Dr. Wright, and Dr. Saulnier talked -- Saulnier?            Is

5    that -- am I getting that right?

6    A.     Yes, Saulnier.

7    Q.     We talked about this at the depo, and I struggled with it.

8    A.     It's a French-Canadian name, Saulnier.

9    Q.     Right.    You helped me.   You're helping me again.      Thank

10   you.

11          Just to be clear -- and we'll go through this in a little

12   more detail later, but to be clear, they all knew when you

13   talked to them what your role was or what Dr. Saulnier's role

14   is; right?

15   A.     Yes.    And also, I made a point of -- of making that very

16   explicit.

17   Q.     Right.    Both of you did, made it clear that you were

18   talking to them as part of your work as an expert witness on

19   behalf of Dr. Wright's defense?

20   A.     Well, not quite like that.

21   Q.     Well --

22   A.     Would you like me to --

23   Q.     Well, let me break it down.

24          They knew you were working as an expert witness?

25   A.     Correct.
                                                                                 20
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                            KLIN - CROSS / BRENNER

1    Q.    Hired by Dr. Wright's lawyers?

2    A.    That is correct.

3    Q.    Okay.   So if I -- if I insinuated something else, I did

4    not mean to.    So I don't know what -- where we disconnected.

5          So -- so is it fair, then, to put these people -- although

6    they talked about these, they all know it's in the context of

7    litigation; right?

8    A.    That is correct with a proviso, of course.

9    Q.    Sure.

10         So is it okay if I put the names here of who you talked

11   to?   You talked to Craig; right?      Dr. Wright?

12   A.    Yes.

13   Q.    Okay.   You talked to --

14   A.    But just to make sure that I am very precise about what

15   I'm telling you, I spoke with them in the context of this

16   litigation --

17   Q.    Got it.

18   A.    -- because everything that I did was in the context of

19   this litigation.

20   Q.    We're going to get there.

21   A.    But I didn't ask them questions about Dr. Wright in the

22   litigation.

23   Q.    Understood.

24         Just the context of the conversation you were having with

25   them is in the context of this litigation?
                                                                                 21
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1    A.    Correct, like everything else --

2    Q.    Okay.

3    A.    -- that I did in this case.

4    Q.    Sure.    Sure.

5          We have -- we have Craig Wright.       We have his wife.     Her

6    name was Ramona; right?

7    A.    Correct.

8    Q.    Sister's name?    Do you remember?

9    A.    Danielle.

10   Q.    Danielle.    I assume that's two L's.      I don't know.

11         Uncle.    Remember his name?

12   A.    Mr. Lynam, I believe.

13   Q.    Don Lynam?

14   A.    Correct.

15   Q.    Don.

16         And then mom.    What was mom's name?

17   A.    Julie Archer.

18   Q.    Let's go with "Mom."

19   A.    Fine by me.

20   Q.    Okay.    Okay.   Anyone else?

21   A.    No.

22   Q.    Okay.

23   A.    These are all the informants.

24   Q.    And as you told us, the interviews were all -- I think the

25   word you used was mediated and arranged by the plaintiff,
                                                                                 22
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1    Dr. Wright's lawyers.       Do you remember telling me that?

2                MS. MCGOVERN:    Objection.   Misstates --

3                THE COURT:   I'm sorry.   The basis?

4                MS. MCGOVERN:    He's asked -- asked and answered.

5                THE COURT:   Overruled.   I'll allow it.

6                THE WITNESS:    So I requested, as you stated, the

7    categories.

8    BY MR. BRENNER:

9    Q.    Right.

10   A.    And then once we began the process, we were -- we

11   requested additional folks, and that's the reason why we

12   requested to see the younger sister.

13   Q.    Oh.   So originally from -- from the attorneys, you were

14   put in touch with Dr. Wright, his wife Ramona, Uncle Don, and

15   mom, and then you -- later, Danielle got added or no?

16   A.    My recollection --

17   Q.    Sure.

18   A.    -- is that it was exactly like that.        So Dr. Wright for

19   direct and then mother --

20   Q.    Got it.

21   A.    -- and the maternal uncle for historical and the wife for

22   present, particularly in the realm of adaptive behavior skills.

23   And -- and subsequently, we requested to speak with the sister.

24   Q.    Right.    The younger -- the younger sister; right?

25   A.    Yeah.    By that time, we already knew the composition of
                                                                                 23
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1    the family --

2    Q.    Got it.

3    A.    -- because of the issues with these --

4    Q.    Got it.

5          So let me just talk -- let me just go through -- you were

6    not given any medical records -- any prior medical records for

7    Dr. Wright; correct?

8    A.    I have not reviewed his medical records.

9    Q.    And you were not given any mental health records, either;

10   right?

11   A.    I was not.

12   Q.    Okay.   You know that Dr. Wright -- well, Dr. Wright has --

13   do you know Dr. Wright says that he was in the military at some

14   point?

15   A.    I believe I've heard that, yes.

16   Q.    Okay.   And you didn't -- you didn't review any of his

17   military records, did you?      Did you, sir?

18   A.    I did not.

19   Q.    Okay.   Dr. Wright, as you said today, went to a lot of

20   different schools.     You didn't review any of his schooling

21   records, did you, sir?

22   A.    I did not.

23   Q.    Okay.   Putting aside the issue of records for a second,

24   one of the things you wanted to know was whether Dr. Wright had

25   ever had any mental health screening or mental health
                                                                                 24
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1    counseling, and you found that he had not; correct?

2    A.    None of that was mentioned to me, no.

3    Q.    Right.    You asked, though, and no one told you he was;

4    right?

5    A.    Sure.

6    Q.    Right.    You're not aware of anyone before you ever

7    diagnosing Dr. Wright as having autism spectrum disorder or

8    Asperger's or autism; right?       Any other mental health

9    professional?

10   A.    I believe that Dr. Wright himself mentioned that he was

11   once diagnosed at the age of 17, but I didn't see that.

12   Q.    Okay.    You didn't -- you didn't see that.       You've seen no

13   record of that, and other than Dr. Wright telling you that,

14   that's the only basis for that; correct?

15   A.    Correct.   I did not review any, as you mentioned -- any of

16   his school records or his mental health records.          Those were in

17   Australia probably, and it would take a great deal of work to

18   actually obtain them.     And I was following basically the best

19   practice parameters for an evaluation of that nature, which

20   includes the procedures that I listed.

21   Q.    Okay.    So let's talk about that.

22         Before we bring it up, you were in a little bit of a rush

23   on this one, weren't you?      Time was a factor?

24   A.    Well, time was a factor from the standpoint that he was a

25   timeline.     Our typical clinical evaluation of a child with
                                                                                 25
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1    autism is typically done in one day as part of a team or in two

2    days as part of when an evaluation is done by a clinician.

3              MR. BRENNER:     So let's -- if we can bring up as a

4    demonstrative Dr. Wright's invoice.        Okay?

5              MS. MCGOVERN:     Yes.

6              MR. BRENNER:     Okay.   May I publish that to the jury,

7    please.

8          Let's just go to the next page.

9    BY MR. BRENNER:

10   Q.    Okay.   So this is -- this is your invoice for your work

11   between April 5th and April 10th; correct?

12   A.    Correct.

13   Q.    Okay.   So I'm going to walk through it with you because

14   you actually -- this includes the work by both you and Dr.

15   Saulnier; correct?

16   A.    I believe so, yes.

17   Q.    Okay.   You both were charging for your work; correct?

18   A.    Correct.

19   Q.    All right.    So let's see what you did and see how long it

20   took for you and how -- what you did to arrive at your

21   diagnosis.    Okay?

22   A.    Yes.

23   Q.    Okay.   So I told you before I would help you refresh your

24   recollection.    It's April 5th when you do the first work in

25   this case.    Do you recall that now?
                                                                                 26
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1    A.    Yes.

2    Q.    Okay.   So let's look at what you did on April 5th.

3          You talked to the lawyers; right?

4    A.    Correct.

5    Q.    And it says, "Preparation of Materials," and that -- you

6    told the -- you told the jury earlier you bill at $600 per hour

7    for your billable hours.      Do you remember telling the jury

8    that?

9    A.    That is correct.

10   Q.    Okay.   So you -- so you charged $600 that day to talk to

11   the lawyers, and then you reviewed the deposition transcript.

12   And to be clear -- we'll see this in the video -- that's the

13   written deposition -- that's the written transcript; right?

14   A.    Correct.

15   Q.    Okay.   So you spent four hours reading Dr. Wright's words

16   on a piece of paper; right?

17   A.    Correct.

18   Q.    Okay.   And you billed the lawyers $2400; correct?

19   A.    Correct.

20   Q.    And then it says you reviewed an analysis of Video

21   Deposition A.    Remember when we looked at the materials that

22   were divided into sub- -- subfiles, I think, A, B, C, D, E, F,

23   G?   Do you remember that, the little -- the little C files?

24   A.    I do.

25   Q.    Okay.   So you reviewed the first one, and it's two hours;
                                                                                 27
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1    right?

2    A.    Correct.

3    Q.    Okay.    So the first day you're on the job, you bill the

4    lawyers just over $4,000; right?

5    A.    Correct.

6    Q.    And you've not spoken with anyone in the family; correct?

7    A.    Correct.

8    Q.    You've read some words on paper; right?

9    A.    I'm sorry.    I didn't hear --

10   Q.    You've read some -- you've read some questions and answers

11   on a piece of paper; right?

12   A.    I think that's on the first day.       I did not have any

13   rating scales returned to me.

14   Q.    Yeah.

15   A.    I believe that this still focuses on other things.

16   Q.    It's always good that you remind me of my questions.

17         So no.    When I say you read words on a piece of paper,

18   you're reading that deposition transcript?

19   A.    Correct.

20   Q.    Okay.    And then you're watching some videos of him -- of

21   Dr. Wright testifying in a -- in a conference room; right?

22   A.    Correct.

23   Q.    Okay.    So let's -- let's go to the next day.       The next day

24   is really busy.     So let's go through that.

25         You spend another three hours reading a deposition; right?
                                                                                 28
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1    A.    Correct.

2    Q.    All right.    So that's seven hours so far reading words on

3    a piece of paper; right?

4    A.    Correct.

5    Q.    So -- and for that, you've now charged the lawyers -- for

6    that alone, for reading a deposition, you've charged them

7    $4200; right?

8    A.    Yes.

9    Q.    Okay.

10   A.    I would just qualify that it's a little bit more than

11   reading.

12   Q.    You're reading and analyzing?       Is that -- reviewing and

13   analyzing.    That's what it says; right?

14   A.    That is correct.

15   Q.    Okay.   So that's the correction.      I got it.

16         Then it says, "Organization and analysis of the deposition

17   transcript."     So another $600 looking at the transcript and

18   analyzing it; right?

19   A.    Correct.

20   Q.    You're still on the written transcript; right?

21   A.    Correct.

22   Q.    Okay.

23   A.    At that point, I had extracted a lot of material from the

24   transcription, and I am organizing this in terms that are

25   helpful --
                                                                                 29
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1    Q.    Right.

2    A.    -- for me to understand this person.

3    Q.    You're looking at how he testifies in a deposition; right?

4    At that point, that's all you're doing.        You haven't done

5    anything else.     You looked at a video in a deposition and

6    reading.    So that's all you've done so far?

7    A.    I am reading his words, he -- the way he expresses

8    himself, the way he reacts --

9    Q.    Got it.

10   A.    -- of things that have to do with somebody's presentation

11   in a social situation.

12   Q.    Got it.

13         So the next one says, "ADI-R Interview."        ADI was one of

14   the tests you talked about before; right?

15   A.    Correct.

16   Q.    Okay.    This is Dr. Saulnier, isn't it?

17   A.    It is.

18   Q.    I think -- and you'll correct me if I'm wrong, but I'm

19   pretty sure, as we go forward, two stars means Dr. Saulnier,

20   and one star means Dr. Klin?

21   A.    You would have the key for the asterisks probably at the

22   bottom of the page.

23   Q.    Oh.   All right.   We'll see if it's there.       I think I'm

24   right, but if we get it wrong, we'll certainly correct it.

25   A.    Certainly.
                                                                                 30
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1    Q.     Now, it's three hours -- right? -- and that's the ADI

2    interview of the mother and the uncle?

3    A.     Correct.

4    Q.     Right.   And so it's a total of three hours that Dr.

5    Saulnier runs the ADI test, using interviews of the mother and

6    the uncle; right?

7    A.     Yes.

8    Q.     And you actually said they talked -- she talked to the

9    uncle twice, I thought you said in direct.         She went back with

10   him; right?

11   A.     I don't recall if she went back to the uncle.        The uncle

12   was not as helpful as the mother and the sister.

13   Q.     Okay.

14   A.     So I don't recall exactly --

15   Q.     Okay.    I may --

16   A.     -- if she went back to him.

17   Q.     I may have misunderstood what you said earlier.

18          Now, the 600-dollar-an-hour rate is actually not accurate,

19   is it?    You actually charge a thousand dollars an hour for

20   assessments?

21   A.     For direct evaluation as part of an expert witness case --

22   Q.     Billable hours at $1,000?

23              MS. MCGOVERN:    Your Honor, if we can please allow the

24   witness to answer the question before we move on to another

25   one.
                                                                                 31
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1               THE COURT:   Yes.

2          Dr. Klin -- thank you -- have you completed your answer?

3               THE WITNESS:    Yes.

4               THE COURT:   All right.

5    BY MR. BRENNER:

6    Q.    So it's a thousand -- $600 an hour for things like reading

7    depositions and watching them on video.        And then actual

8    interviews or assessments -- those are $1,000 per hour;

9    correct?

10   A.    Well, anything other than actually conducting a direct

11   assessment is the rate for direct clinical evaluation.

12   Q.    Okay.

13   A.    The remainder is the other.

14   Q.    Okay.   So since that was three hours, that's $3,000;

15   right?

16   A.    Correct.

17   Q.    Okay.   Then it says, "Reviewing analysis of Video

18   Deposition B."    You went back and watched the next hour or so

19   of the video deposition?

20   A.    Yes, watched and rewatched.      Those videos were not exactly

21   one and a half hours.      So I went back and saw some segments,

22   things of that nature.

23   Q.    Maybe rewound a little bit and watched it twice?

24   A.    Correct.

25   Q.    And then it says, "ADOS-2, Module 4, preparation given,
                                                                                 32
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1    reviews so far."     That is -- the ADOS-2 -- correct me if I'm

2    wrong -- is the -- the assessment that you ran directly with

3    Dr. Wright; correct?

4    A.     That is correct.

5    Q.     Okay.    So you -- here, you're not talking to Dr. Wright,

6    but you are -- you are preparing to talk to Dr. Wright for an

7    hour?

8    A.     Yes.    As I stated there, giving reviews so far -- so I --

9    by that time, I had an opportunity to review the information

10   that was generated through the ADI --

11   Q.     Okay.

12   A.     -- or some -- some -- some sense of that, and I was

13   beginning to prepare myself for the direct evaluation.

14   Q.     Okay.    Great.   And that's at the 600-dollar rate.

15          Then you actually start writing your report on that day;

16   right?

17   A.     I started transferring portions of my work onto paper,

18   yes.

19   Q.     Right.    So --

20   A.     A draft report.

21   Q.     Right.    So you're starting the draft report.      It's true

22   that at this point, no one on your team has spoken to

23   Dr. Wright; correct?

24   A.     Correct.

25   Q.     Okay.    Great.
                                                                                 33
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1          Then it says, "Vineland-3 interview and clinical interview

2    with wife."

3          So "wife" is Ramona; right?

4    A.    Yes.

5    Q.    And we'll go through the Vineland.

6          This is Dr. Saulnier talking to Ramona; right?

7    A.    Correct.

8    Q.    And the Vineland-3 interview takes an hour and 15 minutes?

9    At least this one did?

10   A.    Yes, and --

11   Q.    Right.

12   A.    -- then there was some subsequent correspondence between

13   Dr. Saulnier --

14   Q.    Okay.

15   A.    -- and Mrs. Watts.

16   Q.    This is the only Vineland interview; correct?

17   A.    That's the Vineland interview.

18   Q.    So -- and, you know -- and we'll go through it later.           You

19   know that Ramona Watts, Dr. Wright's wife, is the sole source

20   for the Vineland interview; right?

21   A.    Yes.    Correct.

22   Q.    Okay.    Dr. Wright is not interviewed for the Vineland

23   interview; right?

24   A.    No, he's not.

25   Q.    Uncle Don?
                                                                                 34
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1    A.    No, because he would not be privy to Dr. Wright's

2    presentation every day, particularly in the context --

3    Q.    Okay.

4    A.    -- of the various different domains of the Vineland -- of

5    the Vineland that include life at home.

6    Q.    Okay.    And mom and sister are not involved, either; right?

7    A.    Well, the same thing.

8    Q.    Okay.    And that's -- that's $1250; right?

9    A.    Yes.

10   Q.    Then there's the scoring of the ADI, SRS-2, and

11   Vineland-3.     That's 1800 hours.    That would be -- that's a

12   single asterisk.     That's you?

13   A.    No.    This is actually -- the -- the initial scoring of the

14   ADI, the SRS, and the Vineland were done by Dr. Saulnier, and

15   subsequently it was reviewed by me.

16   Q.    Okay.    And that's -- let's remember how those -- we'll go

17   in detail, but the two of those, the SRS-2 and the Vineland --

18   that's actually scored by putting it just -- almost putting

19   a -- well, the SRS-2 is literally putting a bubble answer sheet

20   into a computer, and it spits out a score; right?

21   A.    The SRS -- that is correct.

22   Q.    Right.

23   A.    Not so the Vineland.

24   Q.    Well, the Vineland also is automated scoring, but it's not

25   just a bubble sheet.     Dr. Saulnier submits her interpretations
                                                                                 35
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1    based on her discussions, and then that gets automated scoring?

2    A.    The Vineland, which has literally hundreds of items --

3    they need to be -- first of all, they need to be scored at the

4    item level on the basis of the scoring criteria as per the

5    manual.

6    Q.    Right.

7    A.    Once -- once the scores are entered on the form for all of

8    the many items, then the remainder is done in an automated

9    fashion via the form.

10   Q.    Right.    Once Dr. Saulnier, based on her interview of

11   Ms. Watts -- once she inputs in the answers to the questions on

12   the -- on the Vineland -- we'll go through it in detail, I

13   promise -- it's automated scoring?

14   A.    Right.    I just --

15   Q.    Yeah.

16   A.    -- want to say that to put that score for the single item,

17   there is a need to translate the -- the open-ended information

18   that the person gave you into the standardized scoring criteria

19   per the manual.     So that's a process that needs to happen.

20   Q.    You're one step ahead of me.      I'm just -- I'm just

21   pointing out that once the information is inputted by Dr.

22   Saulnier, it's automated scoring?

23   A.    Correct.

24   Q.    Okay.    The next one is the clinical interview with the

25   sister because it's a thousand dollars an hour.          It's $750
                                                                                 36
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1    because the sister is interviewed for 45 minutes; right?

2    A.    Yes.

3    Q.    Okay.    So 45 minutes, the sister.     As far as you know, is

4    that the only time anyone talks to the sister?

5    A.    Yes.

6    Q.    Okay.    She's 45 minutes.

7          We -- on the mother and uncle, that three hours, do you

8    know how long it was with each?       I think you said that the

9    uncle was not as helpful as the mom.

10   A.    Well, I believe that this was done simultaneously.          They

11   are both present for that interview.

12   Q.    Oh.    You think that interview was done with mom and uncle

13   together at the same time with Dr. Saulnier?

14   A.    I am not sure, but --

15   Q.    You're not sure?

16   A.    -- I believe so.

17   Q.    Right.    Well, one of the issues -- again, we'll talk a

18   little later -- is that you're not on these calls; correct?

19   A.    I am not.   My colleague Dr. Saulnier is.

20   Q.    Right.   And you don't know if they're video or telephone;

21   correct?

22   A.    I believe they're actually telephone --

23   Q.    Okay.

24   A.    -- interviews.

25   Q.    And as you just told us, you don't know if they're done
                                                                                 37
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1    individually or in tandem?

2    A.    I believe that it was done, the mother and the maternal

3    uncle, together.

4    Q.    The next one is interpreting the SRS-2, organization

5    notes.   The SRS-2 is fully automated; right?        You actually --

6    the person fills in answers on a bubble sheet like a -- like

7    what we used to take in school like the SAT or something, and

8    you put it in a machine, and boom, it spits out an answer;

9    right?

10   A.    Well, except that it's also a clinical instrument.          It

11   needs to be interpreted.

12   Q.    Well, let's just make sure because -- what I said was

13   correct, wasn't it, that -- let's just take Dr. Wright.           He

14   takes a test.    You're not in the room; right --

15   A.    No.

16   Q.    -- on the SRS?

17         As far as you know, you don't know who's in the room, but

18   it's not you or Dr. Saulnier; right?

19   A.    No.   It's actually done online.

20   Q.    Okay.    So he goes online.    You don't know if someone's

21   sitting with him, but it's not you or Dr. Saulnier?

22   A.    It is not us.

23   Q.    Right.    You guys are not involved.     He fills out -- he

24   takes an online test; right?

25   A.    Correct.
                                                                                 38
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1    Q.    He hits "Send"; right?

2    A.    Correct.

3    Q.    Or "Submit."     I don't know what it is.     It's "Send" or

4    "Submit."

5    A.    I --

6    Q.    You don't know, either?

7    A.    Well, I don't think it's that important.        "Submit" --

8    Q.    No, I don't, either.

9    A.    -- "Send," "Return," something of that nature.

10   Q.    Okay.   And then -- and then it spits out a score; right?

11   A.    It spits out a score --

12   Q.    Yeah.

13   A.    -- yes.    It provides you with the summary scores as per

14   the algorithm for that particular clinical research.

15   Q.    Okay.   Great.

16         Okay.   And then -- but it says, "Interpreting SRS-2

17   organization notes."     That's $600; right?

18   A.    Yes.

19   Q.    And then "Review and analysis of video deposition."

20         Now, you're now watching the third segment of Dr. Wright

21   testifying to answer questions from some of the folks on my

22   side; right?

23   A.    Correct.

24   Q.    Okay.   And then you watch the next one at $600; right?

25   A.    Correct.
                                                                                 39
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1    Q.     Okay.    And I add that up for that day -- let me see if I

2    can do it.      54, 63, 75 -- I add it up to be just over $13,000

3    that day.      Does that make sense?

4    A.     I believe so.

5    Q.     Okay.    And, again, no one's spoken to Dr. Wright?

6    A.     Not at that point.

7    Q.     Okay.    Great.

8           So let's go to the next day.     So the next day is actually

9    April 7th.      You guys take the day off; right?     Not the day off.

10   I'm not saying you don't work that day.        You take the day

11   off -- there's no work being billed for in this case on that

12   day?

13   A.     Now you're correct.

14   Q.     Now I'm correct.    I'm sure you were working on other

15   matters and Dr. Saulnier, too.

16          So now we're on the third day of work in this case; right?

17   A.     Correct.

18   Q.     Okay.    It says, "Review of all materials in preparation

19   for CSW interviews."      That's you again putting together stuff

20   so you'll be ready to talk to Dr. Wright?

21   A.     So that I can make the most of my direct observation of

22   Dr. Wright.

23   Q.     Perfect.

24          You're preparing for the interview?

25   A.     Correct.
                                                                                 40
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1    Q.    Okay.    And that's $600, and then it says, "2.5 hours."

2    Yeah, I think our asterisks are -- I had it wrong because the

3    2.5 hours -- this is you.      You're doing the ADOS-2 direct

4    interview with C -- CSW; right?

5    A.    Correct.

6    Q.    Right.    And I think you -- and to be fair, I think you

7    told me in deposition that it was a little more than 2.5.           It

8    was probably closer to two hours and 45 minutes?

9    A.    Correct.

10   Q.    Okay.    So -- so they got a discount there.       It probably

11   should have been 2750, but you charged 2500.

12   A.    Yes.

13   Q.    Okay.    And then you spend three hours scoring -- by the

14   way -- let's just back up a bit.

15         That's the only time you ever spoke to Dr. Wright before

16   you reached your opinion?

17   A.    Before I reached my opinion and wrote the draft report,

18   that was the only time that I spoke with him.

19   Q.    Well, not just the draft report.       Before you wrote the

20   final report?

21   A.    Correct.

22   Q.    Okay.    So this is your only -- your only contact -- or

23   visual contact -- because your thing was by video; right?

24   A.    It was by video.

25   Q.    Right.    So when I say "video contact," I mean you're
                                                                                 41
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1    actually seeing him.

2    A.    Correct.

3    Q.    Right.

4               MR. BRENNER:    Your Honor, one moment, please.

5               THE COURT:   Certainly.

6               MR. BRENNER:    Thank you.

7          Sorry, Doctor.

8    BY MR. BRENNER:

9    Q.    Okay.    Then the -- then it says, "ADI-R, SRS-2,

10   Vineland-3."     Those are all tests run by Dr. Saulnier; right?

11   A.    Yes.    She is the one who collected those data.

12   Q.    Right.    And then it says, "Observations therein, draft

13   text."    Is that you or her?

14   A.    I believe it was me --

15   Q.    Okay.

16   A.    -- integrating, synthesizing the information, looking for

17   consistencies, things of that nature.

18   Q.    Okay.    And that was $1800; correct?

19   A.    Yes.

20   Q.    And then you watched the next three videos for an hour

21   each.    Those are just additional segments of a deposition;

22   right?

23   A.    Correct.

24   Q.    And that was -- so that's $1800; right?

25   A.    Yes.
                                                                                 42
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1    Q.    Okay.   And that day is 36, 54, 79 -- that's 8500 that day?

2    A.    I believe so.

3    Q.    Okay.    Okay.   And that's pretty much it for what you did

4    as far as preparation; right?

5          Let's go to the next day because you do do one more thing.

6    To be fair, you do one more thing.        Let's go --

7    A.    I don't understand what you meant by that comment.

8    Q.    Well, let's go -- let's go to April 9th.

9              MS. MCGOVERN:     If we could please allow the witness to

10   complete the answer.     I'm not -- I'm not hearing the witness

11   before the next question comes.

12             THE COURT:     Dr. Klin, have you completed your answer?

13             THE WITNESS:     Yes.

14             THE COURT:     All right.   Let's continue.

15             MR. BRENNER:     Okay.   Thank you.

16   BY MR. BRENNER:

17   Q.    April 9th, you do one more thing.       You watch a video,

18   Deposition Clip F?

19   A.    Correct.

20   Q.    Okay.    So maybe this is a typo.     It looks like you never

21   got to G.     Do you think maybe this was you watching the last

22   part of it?

23   A.    I believe it was a typo.

24   Q.    Yeah.

25         So you made it through A, B, C, D, E, F, G of the video
                                                                                 43
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1    deposition?

2    A.    I reviewed all of the video materials that were given to

3    me.   So this might have been a typo.       This is an invoice.     It's

4    not part of --

5    Q.    I'm with you.

6    A.    -- critical, say, information put in a -- in a clinical

7    report.

8    Q.    I'm with you.    I thought it was a typo, too.       So --

9    A.    Okay.

10   Q.    -- I'm with you.     I'm with you.

11         So you completed watching the eight-hour video; right?

12   A.    Yes.

13   Q.    And then you spent -- that's it as far as any more

14   assessments?     Any more discussions with the family?       That's it.

15   You're now just drafting.      April 9th, you draft your report;

16   isn't that true?

17   A.    Now I'm studying all of the materials, synthesizing, and

18   writing a 17-page report.

19   Q.    Right.    You're no longer collecting information, correct,

20   other than synthesizing what you have?

21   A.    Correct.

22   Q.    Right.    You're no longer talking to Dr. Wright.        You've

23   done that.     You had your one shot with him; right?

24   A.    I had to -- I completed the autism diagnostic observation

25   schedule, and I had further conversations with him to
                                                                                 44
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1    supplement information that I thought would be important for

2    me.

3    Q.    Okay.   And no one's -- and Dr. Saulnier -- she's no longer

4    talking to anyone in the family; right?        She's not talking to

5    Ramona; right?

6    A.    Yes.

7    Q.    Not talking to -- she only talked to Ramona once; right?

8    For an hour and 25 minutes -- hour and 15 minutes; right?

9    A.    Yes.

10   Q.    She talked to the sister for 45 minutes?

11   A.    Yes.

12   Q.    She talked to the uncle and the mom for a total of three

13   hours.   That's all done; right?      All those -- those one

14   conversations -- one-off conversations are done, and you're

15   ready to issue your opinion; right?

16   A.    This is -- this is the way that best practice parameters

17   for the evaluation of individuals with autism prescribe.           This

18   is the way that the professional organizations like American

19   Academy of Pediatrics, American Psychiatric Association -- the

20   American Academy of Child and Adolescent Psychiatry provides

21   guidance for gold-standard evaluation of the condition.

22   Q.    You're not suggesting that if I were to open some sort of

23   manual of the American Psychological Association that -- for

24   example, that this -- reading a written deposition is part of

25   the gold standard?     You're not suggesting that; right?
                                                                                 45
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1    A.    Absolutely not.

2    Q.    Right.   And you're not suggesting that -- I don't know.

3    It was probably a total of ten or 12 hours of watching

4    videotape of deposition.      I'm not going to find that in any --

5    any manual as being part of a gold-standard assessment, am I?

6    A.    No.

7    Q.    Okay.    Great.

8          And then -- so if you go down the bottom, it then breaks

9    it down to the amount of time you spent at the 600-dollar rate

10   and the 7.5-hour rate; right?

11   A.    Correct.

12   Q.    And it gives a total of $32,400; right?

13   A.    Correct.

14               MR. BRENNER:   Now, I actually cut one off.

15         Can you go to -- can you -- can you go to April 10th,

16   please.

17   BY MR. BRENNER:

18   Q.    Just so we're -- just so we're being clear and

19   transparent, on April 10th, you added -- I think it was some

20   publications onto your report because you understood it to be

21   required.

22   A.    I believed that that's -- that was a request made either

23   by you or by somebody else requesting a -- references of the

24   past five years or something to that nature.

25   Q.    Right.    It wasn't part -- you had already reached your
                                                                                 46
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1    opinion and issued your report.       This was sort of documenting

2    part of the appendices to the report?

3    A.    Well, I was just complying to whatever request you made.

4    Q.    Sure.    Sure.

5          So now we can go to the total:       $32,400.   So that was

6    for -- if we take off the -- the appendices part, the extra one

7    hour, that was for four days of work, April 5th, April 6th,

8    April 8th, and April 9th; right?

9    A.    I believe that those are the billable hours for that

10   consultation.

11   Q.    Right.    You spent 8,000 -- an average of $8,000 a day, and

12   from the -- from the first moment you heard the name

13   "Dr. Wright" until you had issued in a report that he was --

14   and I think -- we'll go through this later -- that he was --

15   presented as severely autistic, it took you four days; right?

16   A.    Did you -- did you mention "severely autistic"?

17   Q.    Well, we'll take the "severely" out.        We'll get back to

18   "severely" later.

19         In four days is what it took you?       Four days and $32,000

20   later is when you issued your report that Dr. Wright was

21   autistic; correct?

22   A.    Yes.

23   Q.    Okay.    Now, I want to go back to the video, the one -- the

24   one piece of "Non" -- "Outside Litigation Craig."          Let me --

25   actually, I'll ask you one more question about "Litigation
                                                                                 47
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1    Craig" -- or "Litigation Dr. Wright."        I apologize.

2          They didn't give you -- so, for example, they gave you

3    written material in the form of depositions; right?          And you

4    even mentioned that Dr. Wright wrote you an email during -- did

5    he write you or Ramona -- you or Dr. Saulnier an email?

6    A.    He wrote an email to Dr. Saulnier.

7    Q.    Right.    Now, they didn't give you anything that Dr. Wright

8    wrote outside the litigation; right?

9    A.    They did not.     Subsequently, Dr. Wright sent me some

10   texts.

11   Q.    Okay.    So, for -- he sent you texts during your

12   evaluation?

13   A.    No.   No, no, no.    No.   Let me -- let me be clear here.

14   Subsequent to the evaluation --

15   Q.    Go ahead.

16   A.    -- Dr. Wright sent me a piece of work that he had done

17   through one of his degrees on his theory of credences.

18   Q.    Sure.    Sure.   And, again, I'm focusing on what you had

19   when you reached your opinion.       Okay?   But I appreciate that.

20         The truth is that when you're analyzing how Dr. Wright,

21   for example, communicates, you don't look at any communications

22   he had his whole life until litigation.        So you don't go --

23   look at more videos of him speaking outside the context of

24   litigation.    You know they're there.       You told me that.    You

25   put in his name.       You saw that there was a lot.     You don't look
                                                                                 48
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1    at them; right?

2    A.    Because when you conduct a clinical evaluation, you don't

3    conduct it on material on YouTube.        You ask the family to

4    provide you with information about the series of -- that's --

5    that's the way you conduct an evaluation.

6    Q.    We already established you did spend a lot of time looking

7    at stuff that's not part of any real clinical evaluation.           You

8    did take the time -- and we can add it up later, if you want.

9    You spent a lot of time looking at him in deposition and in --

10   on video deposition and written transcript.

11         And you did -- you did spend time doing things that are

12   not part of the assessment -- that are not part of the gold

13   standard.     We already covered that; right?

14   A.    Because there was a second question, as you placed on your

15   screen.

16   Q.    Right.

17   A.    The second question had to do "This is the way that he

18   behaves in a legal proceeding.       Can you take a look at it?"

19   Q.    Got it.    That was your focus.

20         Now, when you looked at this -- and we talked about it

21   earlier -- you told me when you saw the video, your -- your

22   statement was "This person very well may not be autistic" based

23   on the limited thing.     I got it; right?

24   A.    Yeah.

25   Q.    Okay.
                                                                                 49
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1    A.    Correct.

2    Q.    And then you interview Craig; right?

3    A.    Correct.

4    Q.    And I asked you this, but can you tell the jury -- isn't

5    it true that the Craig you interviewed was absolutely not

6    consistent with the Craig you saw on video?         Different guy?

7    A.    I would not categorize that like that at all.

8    Q.    Okay.   Let me -- do you remember you having your

9    deposition taken?

10   A.    Sure.   Sure, but he is the same person in a different

11   situation.

12   Q.    So let me go to Page 137, starting at Line 13 and going to

13   138, Line 17.

14              MS. MCGOVERN:    I'm sorry.    Through Line which?     Which

15   line?

16              MR. BRENNER:     I'm sorry, Ms. McGovern.     137, 13, to

17   138, 17.

18              MS. MCGOVERN:    No objection, Your Honor.

19   BY MR. BRENNER:

20   Q.    Okay.   Dr. -- Dr. Klin -- again, I'm just reading from

21   your prior sworn testimony.      Okay?

22   A.    Please.

23   Q.    "Question:    Okay.   When you did the YouTube search for

24   Dr. Wright, did you notice there were a lot of videos for

25   him" -- "from him?"
                                                                                 50
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1          "Answer:   You know, these days, there's a lot of videos of

2    almost everybody.     I was not interested in learning about him

3    from those videos.     I was just curious to list" -- I'm sorry --

4    "curious to listen to to get a sense of what kind of person

5    they are talking to me about because sometimes I'm asked to

6    conduct evaluations in some legal situations that I feel I'm

7    not interested in doing because it's some criminal case and,

8    during some kind of sentencing phase, somebody believes that

9    they need to talk with me.      Those kinds of things are not

10   things necessarily that I'm interested in doing."

11         "I like to be of help.     And so I just wanted to get a

12   sense of what kind of a person he was, his age, the extent he

13   was verbal, for that matter."

14         My question was:     "Was he?"

15         Your answer:    "Oh, he was very polished in that lecture."

16         "Question:    Was what you watched on video, as far as his

17   persona and his polish, consistent with how he was in his

18   interview with you?"

19         And your answer was:     "No, absolutely not."

20         Right?

21             MS. MCGOVERN:     Could you please -- could you please

22   read the rest of that sentence for context, Your Honor, all the

23   way through the end of the page -- or not you.          I apologize,

24   Your Honor.    I meant Mr. --

25             THE COURT:    Yes.   Mr. Brenner -- if you'll read it,
                                                                                 51
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1    Mr. Brenner.

2              MR. BRENNER:     Yeah.   I'm just getting -- I'm just

3    getting there, Your Honor.

4              THE COURT:    All right.    Certainly.

5              MR. BRENNER:     Your Honor, may I -- it's a

6    three-page --

7              MS. MCGOVERN:     If you -- no, just through the end of

8    the page for context, please, for completeness.

9              MR. BRENNER:     You want me to just read the question

10   and the first sentence and the next answer?

11             MS. MCGOVERN:     Number 18 through 22, please.

12             MR. BRENNER:     Sure.

13         Is that -- with Your Honor's permission, I'm just going to

14   read part of the question and answer.

15             MS. MCGOVERN:     Just -- if you can just read the rest

16   of it for the record, please.

17             MR. BRENNER:     Yes.    Yes.

18             THE COURT:    All right.    Just read the --

19             MR. BRENNER:     So -- so next question --

20             THE COURT:    Is there a complete question and answer?

21   Certainly.

22             MR. BRENNER:     Yes.

23         "So in his" -- "so in his" -- next question:         "So in his

24   interview with you, he was different?"

25         "Answer:   Well, it was a different context.        So he was
                                                                                 52
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1    giving what I believe was a public lecture."

2              MS. MCGOVERN:     Thank you.

3              MR. BRENNER:     Yeah.   Yeah.   No problem.

4    BY MR. BRENNER:

5    Q.    Do you remember giving -- being asked those questions and

6    giving those answers?

7    A.    Yes.

8    Q.    Okay.   So now you've got a choice.      Now you have a choice;

9    right?

10   A.    I'm sorry?

11   Q.    You now have two presentations of Dr. Wright.         You have

12   the presentation that he's giving you in the litigation -- in

13   your -- in your expert witness role.        Then you have the

14   presentation that he's giving outside the context of

15   litigation.    Is that at least fair?      You have two different

16   pieces of information?

17   A.    Well, yes and no.

18   Q.    Well, it's yes.    You actually have two different pieces of

19   information.    That's a "yes"?

20             MS. MCGOVERN:     Objection, Your Honor.      Relevance.

21   Argumentative.

22             THE COURT:    Overruled.

23   BY MR. BRENNER:

24   Q.    It's a "yes"?

25   A.    Yes.
                                                                                 53
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1    Q.    Okay.

2    A.    It is a "yes" except that this is not clinical material,

3    and most of what you have on the left side of your ledger is

4    clinical material.

5    Q.    Right.   So what you don't do is you don't go and try to

6    fill out more here and see "Well, maybe, just maybe, what he's

7    doing with me is not really indicative of how he is outside of

8    litigation."

9          You don't do that analysis.      You limit your analysis to

10   the interviews of the people selected by the lawyers talking to

11   you as an expert witness.      That's all true, isn't it, Doctor?

12   A.    Well, it is not because videos on YouTube are not used by

13   expert clinicians to reach clinical conclusions, sir.

14   Q.    I understand that.

15         My only question for you is:       When you have the two pieces

16   of information --

17             MS. MCGOVERN:     Objection.    Asked and answered.

18             THE COURT:    Overruled.    I'll allow it.

19   BY MR. BRENNER:

20   Q.    My only question was -- and it's just a factual thing.

21   Just confirm for me the facts that I'm giving you.

22         You have one piece of information, which you conclude --

23   which you -- your suspicion or your initial belief was he's

24   pretty -- not going to be autistic.        You have the interviews

25   here of the -- of the people that were -- you contacted -- you
                                                                                 54
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1    contacted through the lawyers; right?

2          And you don't go back and get any more information

3    about -- from Dr. Wright outside the litigation context; isn't

4    that correct?

5    A.    Yes, it is correct.

6    Q.    Okay.   Thank you.

7          Okay.   Let's talk a little bit more generically about --

8    about information-gathering for how you do your work.           Okay?

9    A.    Please.

10   Q.    You agree with me, as a clinician, you want the most

11   robust set of observations about -- about an individual's life

12   history and their current presentation; correct?

13   A.    Correct.

14   Q.    As a clinician and investigator, you agree that the more

15   opportunity to observe Dr. Wright is always better for your

16   analysis?

17   A.    I need to feel comfortable that I have a rich body of data

18   on an individual to conduct an assessment and to make a

19   determination as to the person's diagnosis.         That's the way

20   that we do that at the clinic every day.

21   Q.    Okay.   Other than the situation when you get too much

22   information, you agree with me that more data is better;

23   correct?

24   A.    Yes.

25   Q.    Okay.   As -- as a clinician and investigator, it's
                                                                                 55
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1    important to you to view -- this is with Dr. Wright.           It would

2    be important to you to view him in as many different contexts

3    as you could.     Do you agree with that?

4    A.     I need to have information about him in different context,

5    yes.

6    Q.     So for example, one piece of information you can seek out

7    is how he interacts in a business setting.         That would be

8    helpful to you; correct?

9    A.     Yes.

10   Q.     Okay.   You didn't talk to any of the people who did

11   business with Dr. Wright; isn't that correct?

12   A.     That is correct.

13   Q.     Okay.   Another place that you -- I lost my place, Doctor.

14   Give me one second.

15          And it's true that the only -- the only people that you

16   and Dr. Saulnier talked to were people in Dr. Wright's

17   immediate family; correct?

18   A.     Correct.

19   Q.     Okay.   You knew -- both you and Dr. Saulnier knew that

20   Dr. Wright had been previously married.        You noted that in your

21   report.    Do you recall that?

22   A.     Yes.

23   Q.     And his former wife's name was Lynn Wright; correct?

24   A.     Yes.

25   Q.     Do you know how long he was married to Lynn Wright?
                                                                                 56
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1    A.    No, I don't.

2    Q.    Okay.    Neither you or Dr. Saulnier reached out to Lynn

3    Wright, did you?

4    A.    No.

5    Q.    The lawyers did not provide you contact information for

6    Lynn Wright?

7    A.    I did not request.

8    Q.    Right.   And Lynn Wright would be someone that would know a

9    lot about Dr. Wright; correct?

10   A.    She would.

11   Q.    Okay.    I want to talk a little bit about some of the

12   mechanics of what happened.

13         So you and Dr. Saulnier are essentially operating in

14   tandem during this four-day period, meaning you're each doing

15   your own stuff and then you're meeting together; right?

16   A.    We are doing things separately, and we are talking, yes.

17   Q.    Right.    So I want to talk a little bit about Dr. Saulnier,

18   what she was doing.

19         She's -- she's doing every interview other than

20   Dr. Wright; correct?

21   A.    Yes.

22   Q.    Okay.    So she's the sole source that we would have to

23   know, for example, what Ramona said in her interview; right?

24   A.    Yes.    She was the one who spoke with Mrs. Watts.

25   Q.    Right.    She's the sole source of what Danielle said;
                                                                                 57
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1    right?

2    A.    Yes.

3    Q.    Sole source of what Uncle Don said; right?

4    A.    Correct.

5    Q.    Sole source of what mom, Julie Archer, said?

6    A.    Correct.

7    Q.    Now, Dr. Saulnier -- when she spoke with Ramona Watts, she

8    took notes, did she not?

9    A.    Yes, she took notes.

10   Q.    And when she spoke with Danielle, she took notes; right?

11   A.    Yes.

12   Q.    And when she spoke with Uncle Don, she took notes; right?

13   A.    Right.    We don't rely on our memory.

14   Q.    Right.

15   A.    We write it down on a piece of paper.

16   Q.    Crazy to rely on your memory; right?        That's why we take

17   notes?

18   A.    Correct.

19   Q.    Okay.    That's the way we know contemporaneously what's

20   happening; right?

21   A.    Well, that's how you collect information that subsequently

22   you can go back to, analyze, look for consistencies, looking

23   for convergencies, and reaching your conclusions.

24   Q.    Sure.    And if someone wanted to check what was happening,

25   they could look at those, too; right?        You wanted to see the
                                                                                 58
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1    contemporaneous notes?      You could look at them?

2    A.    As the person who is conducting the clinical evaluation,

3    I -- certainly, I want to see my own notes.         My own notes will

4    be scribbles quite a bit because I am making those notes, for

5    example, as I am speaking with the person.         So there's quite a

6    bit of work of bringing that back into an actual -- an actual

7    report, yeah.

8    Q.    Worse scribbles than that or better?

9    A.    Say that again.

10   Q.    Don't worry about that.      I'm kidding with you.

11         And then mom.    He took notes when he was talking to mom,

12   too; right?     She took notes when she was talking to mom; right?

13   A.    Right.

14   Q.    Okay.    And then in some of the assessments, which -- we'll

15   go through and show the jury the actual assessments.           There's

16   places where you take notes in the margin; right?

17   A.    Yes.    We typically write on notepads, or we write on --

18   directly on a particular form.

19   Q.    Right.    And then -- so she did all that.      She took notes,

20   copious notes, and she also wrote on the forms; right?

21   A.    I assume so.    I was not there when she was conducting the

22   interviews, but I assume so.

23   Q.    No, Doctor.    She actually gave them to you afterwards.

24   You know that she did that.      You don't remember that?

25   A.    Well, what I'm saying is that I don't know if she -- she
                                                                                 59
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1    wrote only on this place or on that place.

2    Q.    Sure.

3    A.    I received the product of that interview.

4    Q.    You know she took copious notes, and you know she gave

5    them to you; right?

6    A.    Yes, because I was integrating them.

7    Q.    Right.   And what you did is you integrated them into your

8    report, and then you destroyed all those notes?

9    A.    I integrated all of the information, scores, observations,

10   information, to write a 17-page report.        And then, yes, I

11   disregarded the notes.

12   Q.    Right.   You -- and you did it immediately.        Like, it was

13   within a day of your report; right?        Because I asked to see

14   those notes, and they were already gone; right?

15   A.    The final product of my work is the report that is -- that

16   is produced at the end of that procedure.         And so in order to

17   make sure that there is -- that no note or no observation is

18   taken out of the context of the totality of the information, I

19   do not keep those notes.

20   Q.    Right.   So you're the sole judge of it.       You took the

21   notes, you used them in incorporating in your report, and then

22   you destroyed them?

23   A.    Well, I wouldn't say that this is the right

24   characterization.     If you place my report in the hands of an

25   experienced clinician, when I describe in great detail the
                                                                                 60
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1    methodology that I used in order to conduct this -- this

2    evaluation with very, very detailed descriptions of behaviors

3    in schools and thresholds and cutoffs, any expert clinician

4    will be able to reconstitute that on their own by conducting a

5    similar evaluation.

6    Q.    I'm not -- I'm not -- I'm not trying to quarrel with you.

7    I'm just asking you to confirm -- you don't have to tell me why

8    you did it.    You don't have to defend why you did it.

9              MS. MCGOVERN:     Objection.    Asked and answered.

10   BY MR. BRENNER:

11   Q.    Did you destroy the notes?

12             THE COURT:    Overruled at this point.

13             THE WITNESS:     That is correct.

14   BY MR. BRENNER:

15   Q.    Okay.   Now, you, too -- you had an interview with

16   Dr. Wright, and you took notes?       Copious notes?

17   A.    Yes.

18   Q.    And you also -- in the ADOS-2, there's a place where --

19   why don't we -- why don't we bring that up so the jury has --

20   has an understanding.

21             MR. BRENNER:     If we can bring up -- it's part of

22   his -- it's one of the assessments, Your Honor, if I can bring

23   it up as a demonstrative.

24         Go to -- yeah.

25   ///
                                                                                 61
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1    BY MR. BRENNER:

2    Q.    Okay.    So do you see that?    That -- is that -- that's

3    one -- that's a sheet from the ADOS; right?

4    A.    From the Module 4 of the ADOS.

5    Q.    Yes.    It's one of the modules.     I'm just using it as an

6    example.

7          It's a fair example -- is it a fair example of what it

8    looks like in the sense that there's a -- there's a -- there's

9    sort of a prompt or a subject, and then there's a place to take

10   notes?   Is that a fair sampling?

11   A.    It is.

12   Q.    Okay.    And it doesn't matter which one I used, then.        I

13   picked one.

14         And you took copious notes along those -- on this -- on

15   this document?

16   A.    I did.

17   Q.    Right.    And then, again, what you did is you destroyed

18   them?

19   A.    I integrated all of the materials, I synthesized them all,

20   I checked them, I interpreted them, and I --

21   Q.    Okay.

22   A.    -- placed them in my report.

23   Q.    And then you -- what's the next thing you did with them?

24   A.    And then I discarded the notes.

25   Q.    Destroyed them; right?     Or discarded them?
                                                                                 62
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1    A.     Correct.

2    Q.     Right.

3               MR. BRENNER:    Okay.   You can take that down, please,

4    Ms. Vela.

5           Your Honor, may I have one moment?

6               THE COURT:   Certainly.

7    BY MR. BRENNER:

8    Q.     Okay.    I'm going to change topics on you, Doctor.

9           So you agree with me that as part of your job as a

10   clinical psychologist -- well, let's do it a little -- in

11   smaller steps.

12          In the work here, the -- the most important part of your

13   assessment was the information that you and Dr. Saulnier

14   collectively were able to obtain from the interviewees; right?

15   A.     The most important information is having developmental

16   history, current presentation as observed by people who know

17   the individual, plus direct observation of the individual, a

18   measurement of adaptive behavior and, in the case of

19   individuals with an intellectual disability, a cognitive

20   assessment.

21   Q.     Right, but all those things -- all those words you just

22   used like "developmental record" and -- I didn't catch them

23   all.   They all were coming -- this is your only source.          You

24   don't have medical records; right?

25              MS. MCGOVERN:    Objection.    Asked and answered.
                                                                                 63
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1              THE WITNESS:     I did not review his medical records.

2              THE COURT:    Sustained.

3    BY MR. BRENNER:

4    Q.    Okay.   So the sole source --

5              MS. MCGOVERN:     Objection.     Asked and answered.

6              THE COURT:    Yes.     That was sustained.

7              MR. BRENNER:     Yeah.   I was --

8              THE COURT:    All right.

9              MR. BRENNER:     I was -- yeah -- going to the next

10   question.

11             THE COURT:    Continue.

12   BY MR. BRENNER:

13   Q.    The sole source that you got all this data from was from

14   these five interviews; right?

15             MS. MCGOVERN:     Your Honor, I've objected as asked and

16   answered twice.

17             THE COURT:    And I sustained the objection.

18             MR. BRENNER:     Oh.    I'm sorry.   I apologize, Judge.     I

19   thought I had asked a different question.         I apologize.

20             MS. MCGOVERN:     No.    That's the same question.

21             THE COURT:    And there was a second objection.

22   Sustained.

23             MR. BRENNER:     Yeah.   Yeah.    I apologize, Your Honor.

24             THE COURT:    All right.

25             MR. BRENNER:     I thought I had asked a different
                                                                                 64
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1    question.

2    BY MR. BRENNER:

3    Q.    You know what the concept of secondary gain is, right,

4    generally?     Do you know that?

5    A.    I -- I would love to know what your interpretation of

6    "secondary gain" is.

7    Q.    Well, that's fair.

8          So secondary gain --

9              MS. MCGOVERN:      If you can please allow Mr. -- Dr. Klin

10   to answer the question.

11             THE COURT:      Have you completed your answer, sir?

12             THE WITNESS:      I have.   I did not -- I have no way of

13   knowing what his interpretation of "secondary gain" is.

14   BY MR. BRENNER:

15   Q.    Right.    Right.    You want me to tell you how I'm going to

16   use the word?

17   A.    Please do.

18   Q.    Okay.    Perfect.

19         So secondary gain, as I'm using the word, is that if

20   someone who's giving you the information has some reason or

21   bias to give you it in a certain way, that's what I'm calling

22   secondary gain.

23   A.    Now I understand what you mean.

24   Q.    Same page; right?

25   A.    Yes.
                                                                                 65
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1    Q.    Okay.    So in general, one of the things you need to make

2    sure of is that your interviewees don't have secondary gain.

3    You want to make sure they're giving you an unbiased,

4    unvarnished, accurate description of the events you're asking

5    about; right?

6    A.    That is correct.

7    Q.    Okay.    Now, all of these folks know that you are acting as

8    an expert witness; right?

9    A.    Correct.

10   Q.    Okay.    Dr. Wright directly is -- is the defendant in the

11   lawsuit.     You know that; right?

12   A.    Yes.

13   Q.    And he knows -- did you -- when you were talking to him,

14   did you assume that he knew that his lawyers had hired you as

15   part of their defense in the lawsuit?        Is that --

16   A.    I actually made it very explicit to him.

17   Q.    You made it explicit that you knew -- that he knew that?

18   A.    Yes.    I wanted to make sure that he knew exactly who I

19   was, what I was doing, because I wanted to create the very best

20   environment for my observation of him.

21   Q.    Right.    So he --

22   A.    And that includes that he knew exactly with great

23   transparency what was my role and what I was doing.

24   Q.    Right.    And so did the other four?     They knew that Dr.

25   Saulnier was doing the same thing; right?
                                                                                 66
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1    A.    That's a clinical practice.      You always tell the people

2    that you are speaking to who you are and what do you -- what --

3    what are you doing and why you're doing what you're doing.

4    Q.    Right.   And so one of the things you need to do, then, is

5    you need to assess the reliability of the informants because

6    the information, at least -- strike that.

7          The tests are only as good as the information is reliable?

8    Did that make sense to you?

9    A.    The test is as good as the clinician executing it.          So

10   it's not only reliability.      It is also validity.      Those are two

11   important psychometric concepts.

12   Q.    Right.   Right.   You want to make sure that you're

13   comfortable that the folks that you're talking to or Dr.

14   Saulnier are talking to don't have an ulterior motive to give

15   you certain information.      That's important for you to know?

16   A.    Well, we don't rely on that.      We are trained for decades,

17   as I have and Dr. Saulnier, to assess the reliability and

18   validity of an informant when we're speaking with them so that

19   we ourselves can reach that conclusion without relying on any

20   statements that the person is going to make to us, whether or

21   not she or he has an ulterior motive.

22   Q.    Well, you take the statements, whatever it is -- let's

23   start with Ms. Watts.      You take her statements, and one of the

24   things -- this would be Dr. Saulnier.        One of the things she's

25   doing is she's trying to process is this reliable and valid
                                                                                 67
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1    information --

2    A.    Correct.

3    Q.    -- right?

4    A.    And one of the methods that is used to ensure validity and

5    reliability is that in semi-structured interviews, I don't ask

6    you a question that is explicit.       I actually provide you with

7    an open-ended question.

8          And what I want to hear is basically concrete observations

9    that the person made of the individual in place so that -- it's

10   the confluence of all of those different observations that the

11   person offered to you that we can then use for the purpose of

12   assessing a person -- the person's reliability as an informant.

13   Q.    And if there is a case, just in general, where you find

14   that the information is potentially unreliable, you seek

15   additional sources of information; right?

16   A.    If we believe that there are gaps in the information,

17   absolutely.     And I -- I was just saying -- I was -- I once

18   evaluated -- I think you asked me that.

19         I evaluated a person for autism in the sentencing phase of

20   his trial.     So that person had all of -- of -- all interest in

21   making an impression upon me that he had autism, but I've been

22   35 years in this field.      I can assess it all by myself.

23   Q.    Right.    You trust -- I'm trying to do this both generally

24   and then -- and then to this case.        So --

25   A.    Please.
                                                                                 68
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1    Q.     -- we can agree it's important for you -- putting aside

2    this case, it's important for you to make sure that the

3    information you're being given is reliable, just in a general

4    way?

5    A.     Absolutely.

6               MS. MCGOVERN:    Objection.    Asked and answered,

7    Your Honor.

8               THE COURT:   Overruled.    I'll allow it.

9    BY MR. BRENNER:

10   Q.     And then you and Dr. -- I assume Dr. Saulnier, too.         So

11   when I say "you," I don't mean to cut her out.

12   A.     Please.

13   Q.     You rely on your -- your clinical experience, education,

14   training -- if I leave anything out, I apologize -- to try to

15   sort of sniff out whether the information that's being given to

16   you is not reliable?

17   A.     I wouldn't characterize it as sniff out because there were

18   hundreds of observations made of Dr. Wright that are so unusual

19   for typically developing individuals that is very

20   characteristic of individuals with autism, and they come

21   together as a package.      So I didn't have to sniff out.

22   Q.     Okay.   Actually, I wasn't talking about Dr. Wright.

23   Remember, I said we're going to talk generally first.

24   A.     Please.

25   Q.     I wasn't even on Dr. Wright.
                                                                                 69
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1    A.    Okay.

2    Q.    We'll get to Dr. Wright.

3    A.    But that's usually what happens in our evaluation.

4    Q.    Right.    Sometimes -- can we agree that sometimes people

5    are not honest in their interviews?        Not these folks.     I'm not

6    even getting to them yet.      Sometimes people are -- they have

7    secondary gain; right?

8              MS. MCGOVERN:     Objection.    Relevance.

9              THE WITNESS:     I think that --

10             THE COURT:     Overruled.    I'll allow it.

11             THE WITNESS:     -- as a statement of general -- people's

12   general intentions, I -- absolutely.

13   BY MR. BRENNER:

14   Q.    Sure.    Right.   So now we're going to transition -- so you

15   know where we're going, we're going to transition to

16   Dr. Wright's case.

17   A.    Please.

18   Q.    So one of the things, like you would do with anyone --

19   that's why I said "sniff out."        You want to make sure that the

20   information you're being given is reliable?

21   A.    Yes.

22   Q.    Okay.    So let me wrap up this section, and then we'll move

23   to something else.

24         So although you specify the categories, it was

25   Dr. Wright's lawyers who chose the people that you would talk
                                                                                 70
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1    to; correct?

2              MS. MCGOVERN:     Objection.    Mischaracterizes the

3    evidence -- the testimony.

4              THE COURT:    Overruled.

5          You can answer.

6              THE WITNESS:     I requested to speak with -- with

7    somebody who had a good understanding of his early history.

8    It's typically the mother.      So I requested, "Is his mother

9    alive?"

10         I need to have an informant who knows him well currently.

11   Is he married?    Does he have -- is there a wife?        And that's

12   how I began this journey.

13   BY MR. BRENNER:

14   Q.    So let me ask again.     You gave the categories of

15   Dr. Wright.    So Dr. Wright chose -- Dr. Wright's lawyers chose

16   who you would speak to; correct?

17             MS. MCGOVERN:     Oh, my God.

18             THE WITNESS:     Once I asked, "Does he have a mother?"

19   they told me, "Yes, there is a mother."

20         I asked the question, "Can I speak with her?"

21         They said, "Absolutely."

22         I asked them, "Does she have a phone and an email?"          And

23   that's how we made contact.

24   BY MR. BRENNER:

25   Q.    Dr. Klin, it wasn't just the mother.        Okay?   Let's -- it's
                                                                                 71
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1    not just the mother.     They chose --

2              MS. MCGOVERN:     Asked and answered, Your Honor.

3    BY MR. BRENNER:

4    Q.    They chose --

5              THE COURT:    Sustained.

6    BY MR. BRENNER:

7    Q.    They chose --

8              MS. MCGOVERN:     Asked and answered.

9    BY MR. BRENNER:

10   Q.    -- who you would talk to, not just the mother.

11             THE COURT:    Sustained.

12   BY MR. BRENNER:

13   Q.    Okay.   Then after you got the people, they were all family

14   members of Dr. Wright; correct?

15   A.    They were.

16   Q.    By your own admission and your own statements, they were

17   all loving, close, and supportive of him; correct?

18   A.    They were loving, supportive of Dr. Wright?         Is that what

19   you just mentioned?

20   Q.    Yes.    Yes.   I mean -- I'm sorry.    Yes.

21   A.    I don't recall making that statement.

22   Q.    Okay.   And then you and Dr. Saulnier met with -- you

23   and/or -- you or Dr. Saulnier met with each of them; right?

24   A.    Yes.

25             MS. MCGOVERN:     Objection.    Asked and answered.
                                                                                 72
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1                THE COURT:   I'll allow it at this point.

2    BY MR. BRENNER:

3    Q.    Yes?

4    A.    Yes.    We met with -- Dr. Saulnier met with them and

5    conducted the procedures as I requested.

6    Q.    And then you relied on them in forming your opinion that

7    Dr. Wright was autistic; is that right?

8    A.    No.

9    Q.    Okay.

10   A.    Would you like me to answer?

11   Q.    Well --

12   A.    The answer to that is that I relied on Dr. Saulnier and

13   the materials that she generated out of her clinical procedures

14   to draw conclusions about his early history and his current

15   presentation.

16   Q.    You and Dr. Saulnier relied on information given to you by

17   the five family members; correct?

18   A.    Yes, for completion of a clinical procedure.         Yes.

19   Q.    Okay.    So let's talk about the clinical procedures.        So

20   I'm going to take them one at a time.

21         We talked about on direct something called the SRS-2;

22   right?

23   A.    Yes.

24   Q.    The SRS-2 stands for the Social Responsiveness Scale;

25   right?
                                                                                 73
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1    A.    Correct.

2    Q.    Okay.   Let's -- let's explain to the jury how that one

3    worked in this case.

4          The SRS-2 is a -- how do I put it?       It's a test or a

5    series of questions that is given to an individual to fill in

6    the answers; right?

7    A.    Yes.

8    Q.    How many are there?

9    A.    65 items.   They are statements that -- they capture a

10   person's ability and disability in social situations.

11   Q.    So there's 65 questions.

12         And as far as our list of informants, the two people that

13   did the SRS-2 were Craig Wright?

14   A.    Correct.

15   Q.    And Ramona Wright?

16   A.    Correct.

17   Q.    Okay.   So they each -- I think you said it was online;

18   right?

19   A.    Correct.

20   Q.    So they went online, and they answered 65 -- I'm talking

21   about questions.     They're statements of which they've given --

22   they gave a response to; right?

23   A.    They are statements that -- they typify autism-like

24   behaviors or not.

25   Q.    Okay.
                                                                                 74
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1    A.    And then the individual completing the form states that

2    this does not apply, applies sometimes, applies often, applies

3    always.   It's been -- it's been validated in over 200 research

4    papers.

5    Q.    Got it.

6              MR. BRENNER:     Can we bring up the -- it's from -- it's

7    a paragraph from the assessment describing the score.

8              MS. MCGOVERN:     Okay.

9              MR. BRENNER:     It's -- no, that's not -- there it is.

10         Can you unhighlight -- oh, there you go.

11   BY MR. BRENNER:

12   Q.    Okay.   So this is -- this is also from -- from your

13   materials.    Do you recognize it?

14   A.    Yes.

15             MR. BRENNER:     You cut off the valuable line at the

16   bottom.   Yeah, you've got to go to the next page.

17         Thank you.

18   BY MR. BRENNER:

19   Q.    Okay.   So this is -- this is the -- this is the scoring --

20   what do we call this?      It gives what the various scores relate

21   to; right?

22   A.    Yes.

23   Q.    This paragraph?

24         And this is -- we're talking about the -- this is the

25   SRS-2.
                                                                                 75
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1          So it says on the SRS-2, you're going to get -- well,

2    let's go back.    The person fills out the questions, this time

3    Dr. Wright and Ramona.      They submit it, and it comes back, and

4    it gives what's called a T-score; right?

5    A.    Correct.

6    Q.    And it doesn't just give a single T-score.         It gives a

7    T-score in -- is it five different areas or no?

8    A.    Yes, in social awareness, in social communication, in

9    social cognition, in social motivation, and in restricted and

10   repetitive behaviors.

11   Q.    Okay.   And then it says -- it says -- I'm reading from the

12   fourth line down.     It says, "Scores reported as T-scores.

13   Scores below 59 to be considered within normal limits and not

14   indicative of ASD."

15         And that's autism spectrum disorder?

16   A.    Autism spectrum disorder, yes.

17   Q.    Then it says, "Scores between 60 and 65 suggests mild to

18   moderate deficits in social interaction" --

19   A.    Correct.

20   Q.    -- right?

21         "Scores between 66 and 75 suggest moderate deficits";

22   right?

23   A.    Correct.

24   Q.    And scores higher than 76 suggest severe deficits that are

25   strongly associated with ASD?
                                                                                 76
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1    A.    Correct.

2    Q.    Okay.    And it says Dr. Wright and his wife each -- each

3    did that; right?

4    A.    Yes.

5    Q.    So let's look -- and they -- there's no clinical judgment

6    being exercised here, meaning they're just filling it out and

7    scoring it.     Its getting scored automatically; right?

8    A.    Yes.    And that's why on the first line, it says that this

9    is a screener for ASD.

10   Q.    Yes.

11   A.    It's not a diagnostic instrument.

12   Q.    Got it.

13             MR. BRENNER:     Okay.   So let's go to -- it's in

14   Dr. Klin's materials at 25.        No.   No.   Let's go to 25, yeah.

15   No, not that.

16         Excuse me one second, Your Honor.

17         Okay.    You can highlight that.

18   BY MR. BRENNER:

19   Q.    Okay.    So this is -- this is discussing if -- if you -- we

20   went through the different ranges.        If you're in the severe

21   range, this is what you would expect to see; correct?

22   A.    Yes.

23   Q.    Okay.    It says, "Severe Range"?

24   A.    Correct.

25   Q.    "Scores in this range indicate deficiencies in reciprocal
                                                                                 77
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                            KLIN - CROSS / BRENNER

1    social behavior that are clinically significant and lead to

2    severe and enduring interference with everyday social

3    interactions"; right?

4    A.    Yes.

5    Q.    Highest possible thing you can be on this test; right?

6    A.    Yes.

7    Q.    Okay.

8    A.    Can I just tell you that this is not a test for autism?

9    Q.    I understand.

10   A.    It measures social responsiveness in the entire

11   population, and so the skew end of that distribution

12   corresponds to individuals with autism.        So in this sense here,

13   "severe range" means severe range of social responsiveness.

14   When people fall within that range, they typically have autism.

15   Q.    Okay.   So let's -- let's look at -- if we can go to the --

16   the -- at Page 6.

17         So this is the -- if you look at the top there of the

18   chart -- the top table, do you see that?

19   A.    Yes.

20             MR. BRENNER:     If we can just highlight the left column

21   and the right column, the left where it says, "SRS Scores."            If

22   you can't, we'll -- okay.      Perfect.

23   BY MR. BRENNER:

24   Q.    So this is -- this is the scores that Ms. Watts -- when

25   she's on her own and gets to answer the questions, these are
                                                                                 78
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1    the score -- this -- these scores generate from her responses

2    about Dr. Wright; correct?

3    A.    Correct.

4    Q.    Okay.    And so for the first one, social awareness, she

5    rates him -- her scores -- her answers give him an 81, which is

6    in the severe range; correct?

7    A.    Yes.

8    Q.    And then pretty good at the severe range; right?          Pretty

9    up there; right?

10   A.    Well, remember, you mentioned the word "T-score."

11   Q.    Yes, I did.

12   A.    So average is 50.     Every standard deviation is 10.

13   Q.    Right.

14   A.    So now we're talking about 10 and 10 and 10, which

15   basically puts you at about 0.4 percent of the population.

16   Q.    Right.    So for social awareness, if Ms. -- Ms. -- based on

17   Ms. Watts's self-report -- right?       This is self-report?

18   A.    Well, the -- Mrs. Watts is completing that rating scale

19   for her husband.

20   Q.    It's a terrible question.      You're right.

21         Ms. Watts reporting about her husband?

22   A.    That is correct.

23   Q.    Right.    I didn't mean to mis- -- I misspoke.       I didn't

24   mean to.

25   A.    Okay.
                                                                                 79
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                            KLIN - CROSS / BRENNER

1    Q.    Okay.    Thank you for correcting me, sir.

2          So that -- on the social awareness, Dr. Wright, according

3    to his wife, is less functional than -- would you say

4    99.6 percent of people his age?

5    A.    Of the population, yes.

6    Q.    Well, it is -- it's actually measured -- isn't it measured

7    by -- isn't it of adults?      It's not just --

8    A.    Yes.    This is for adults.

9    Q.    Right.    It's for adults.

10         Okay.    And then -- so the social cognition -- he's going

11   to be -- again, according to Ms. Watts, Dr. Wright would be

12   worse than -- I guess this has got to be more like 99.7 percent

13   or -8 percent?

14   A.    Everything is going to be over the 99th percentile.

15   Q.    Okay.    So at that point, it's just decimals; right?

16   A.    Yes.

17   Q.    Okay.    And then a 90 on social communication; right?

18   A.    Right.

19   Q.    And then a 76 on social motivation.

20         Again, everything -- everything is in the top 1

21   percentile; right?     He's worse than 99 percent of the people on

22   all of these domains?

23   A.    Yes.    76 would be two and a half standard deviations.         So

24   it would be close to the 99th percentile, yes.

25   Q.    Okay.    And 77 on the restrictive and repetitive behavior?
                                                                                 80
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                            KLIN - CROSS / BRENNER

1    A.     Correct.

2    Q.     And then it gives an overall score of 86, which is almost

3    the highest overall.       That's going to be well above -- well

4    above the 99th percentile; right?

5    A.     Yeah.    I would say it's the highest overall.      There are

6    individuals who score higher than that.

7    Q.     Yeah.    My question was bad.

8           "Highest overall" meaning if you went to the subdomains

9    and the highest was 90, this is the second -- the overall

10   average is the second highest number?

11   A.     Right.    Right.    This is a -- this is standardized for the

12   entire population.        So each one of those components is

13   standardized for the entire population.         It's not simply an

14   average.

15          (Court reporter requests clarification for the record.)

16              THE WITNESS:      An average.

17              THE REPORTER:      Thank you.

18              THE COURT:      Mr. Brenner?

19              MR. BRENNER:      Yes.    I just saw it's 3:00 o'clock.

20   Yes.

21              THE COURT:      Yes, it is.

22              MR. BRENNER:      Okay.

23              THE COURT:      I'm assuming that you are not going to be

24   finishing your cross-examination.

25              MR. BRENNER:      No, I will not.
                                                                                 81
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1              THE COURT:    All right.     All right.

2              MR. BRENNER:     Well, I will at some point, yes, but not

3    in the next few minutes.      Yes.

4              THE COURT:    All right.     Now, ladies and gentlemen, as

5    I advised, we are going to adjourn early today.

6          I do wish to advise you of the conversation that I did

7    have with the attorneys, and they are working very hard, and we

8    believe that it may be possible to have the case in your hands

9    for your deliberation, discussion, and vote by Tuesday

10   afternoon but with two caveats.

11         And I will ask Liz to -- I don't expect you to answer in

12   the courtroom, but she can speak with you directly.          I

13   understand that you're going to be taking the time to look at

14   the larger conference room to see if -- if that area may be

15   better suited for your deliberations.

16         But I -- I would ask the following questions, and that is

17   whether you would be willing to come in on Monday and

18   Tuesday -- that is, next week, the 22nd and the 23rd -- at 9:30

19   in the morning as opposed to 10:00 and whether you would be

20   amenable to staying later than 5:00 o'clock and, if so, how

21   late your schedule may allow so that we can have more time

22   to -- to finish the case.

23         As I stated, we will not be in session on Wednesday, but I

24   would ask that hopefully we will have that time and we will be

25   able to give the case to you.        Obviously, you can take as -- as
                                                                                 82
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1    much time as you need to deliberate and decide your vote.

2          I would ask that you do make arrangements in the event

3    that that is -- is needed for further time on Monday,

4    November 29th, in order to continue any deliberations as well

5    as that week.     Perhaps see if you can have some flexibility

6    with the schedule.

7          Okay.    And Liz will answer any additional questions you

8    may have.     I wish each of you a wonderful weekend, and I will

9    see you Monday morning.      Hopefully, I will be able to see you

10   at 9:30 if your schedule allows.       Have a pleasant weekend.

11         Please remember you're not to discuss this case with

12   anyone or permit anyone to speak with you.         Everything learned

13   about the case is learned within the courtroom.          You're not to

14   conduct any independent research.

15         Have a wonderful weekend, and I'll see you Monday morning.

16             COURT SECURITY OFFICER:      All rise for the jury,

17   please.

18         (Proceedings were heard out of the presence of the jury:)

19             THE COURT:    All right.    Go ahead and have a seat.

20         And, Dr. Klin, as -- as you can see, we will see you

21   Monday morning.     I would plan on being here, sir, by 9:30.

22         All right, sir.    Have a nice weekend.

23         All right.    Are there any issues that we can discuss at

24   this time?     I think we -- we took care of some housekeeping

25   matters with regard to additional jury instructions, related to
                                                                                 83
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1    any issues regarding the additional time.          I've spoken with the

2    jury.    I will have an answer for you first thing on -- on

3    Monday morning.

4          I would plan on being here ready to proceed by 9:30.          We

5    do have a hearing in the morning at 9:00 o'clock, but I

6    anticipate that we will be done by 9:30 and ready to proceed

7    with this trial.

8          Are there any issues that we need to address at this time?

9               MR. RIVERO:    Judge, since it's obviously top of the

10   line right now, I am skeptical that we will meet the deadline,

11   given that we do have two witnesses, and nobody's cross has

12   been limited in the case.        It's not just that, but I don't

13   think this will end on Tuesday at this point.         We're not done

14   with Dr. Klin, and we have two witnesses on Monday.

15         So I just wanted to advise the Court what my view is.

16              THE COURT:    Well, perhaps I can ask how much

17   additional time is anticipated with -- with regard to

18   Dr. Klin's cross-examination.

19         Mr. Brenner?

20              MR. BRENNER:    Yeah.    I would say under an hour.     I'm

21   sorry.    Did you hear me?

22              THE COURT:    Yeah.    Under an hour.    So --

23              MR. BRENNER:    Yeah.    I said under an hour.    That is my

24   best guess.

25              THE COURT:    So do you think -- if we finish Dr. Klin,
                                                                                 84
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1    say, by 11:00 o'clock --

2              MR. RIVERO:    Judge --

3              THE COURT:    -- how -- just give me a timeframe

4    estimate with regard to the other two witnesses.

5              MR. RIVERO:    Past -- past this point, I believe that

6    our examinations will be tight and limited.         I believe the

7    cross-examination will be very extensive.         I do not believe

8    we're going to finish on Tuesday under these circumstances.

9          That's -- the Court has asked me directly.         I'm telling

10   you the truth.

11             THE COURT:    So you have two additional witnesses in

12   addition to Dr. Klin?

13             MR. RIVERO:    Yes.

14             THE COURT:    And you believe that those two additional

15   witnesses will take us through Monday and Tuesday?

16             MR. RIVERO:    Well, in other words, Judge, I don't know

17   how the Court wants to deal with three hours of cross and then

18   sort of a closing.

19         But when you take into account three hours of closing, I'm

20   just -- I'm just -- these are all predictions anyway, Judge.

21   I'm just telling the Court now because it's the end of the day

22   and you're making arrangements with the jury.         I don't want the

23   Court to --

24             THE COURT:    Of course.

25         So with regard to the next witness -- and what witness is
                                                                                 85
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1    that?

2              MR. RIVERO:    Your Honor, I believe it will be

3    Dr. Wright.

4              THE COURT:    All right.    And then after Dr. Wright, did

5    you have another witness?

6              MR. RIVERO:    I believe it will be Dr. -- it will be

7    William Choi.

8              THE COURT:    And are there any additional witnesses?

9              MR. RIVERO:    No, Your Honor.     That is what we -- I

10   think at this point, that's who we intend to -- to fill the

11   remainder of our case with.

12             THE COURT:    So, Mr. Rivero, you don't believe that,

13   given the two witnesses and the finishing of Dr. Klin, that we

14   would be finished by Monday?

15             MR. RIVERO:    Judge, I would be pleasantly surprised if

16   we were, but I don't believe so.

17             THE COURT:    Okay.

18             MR. RIVERO:    I'm just calling it the way it is.

19             THE COURT:    Well, let me suggest this, and that is

20   that since we have a holiday in between -- that if you don't

21   believe that we're going to be able to finish the witnesses,

22   jury instructions, and the three hours that have been requested

23   for closing arguments, then perhaps it may be preferrable to --

24   to perhaps instruct the jury on Monday the 29th with the

25   jury -- with the closing arguments and then allow the jury to
                                                                                 86
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1    deliberate for that week and as long as they need because my

2    concern is to give them the case on Tuesday afternoon to start

3    deliberations, only to then have to restart on -- on Monday.

4          It may be preferrable if there's a real -- if we really

5    don't believe we're going to have the case in their hands by

6    Tuesday morning.

7              MR. RIVERO:    Judge, it's not tactical in any way

8    because I think I, as much as Mr. -- probably the only thing

9    Mr. Freedman and I have agreed on ever in this case is we'd

10   like to do the closings before the holiday because I think Mr.

11   Freedman's closing on the plaintiffs' side.

12         But I think it's important to tell the Court, and, you

13   know, it does seem to be, Judge, a holiday week.          To stretch

14   the beginning and the ending times when it's unlikely we'll be

15   able to finish -- at some point, it just doesn't make sense.

16         That said, Judge, maybe -- maybe things will be different

17   on Monday.    We only have two witnesses after Dr. Klin, but I

18   just wanted the Court to --

19             THE COURT:    All right.    If we can finish by Tuesday

20   morning, then that would give us the full afternoon on Tuesday,

21   and obviously the jury can come back, and they'll have the full

22   benefit of -- of the -- the exhibits and the other evidence.

23   I'm not really sure because I don't know what's going to happen

24   to any of these witnesses.

25             MR. FREEDMAN:     What I'm hearing -- what I'm hearing
                                                                                 87
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1    Mr. Rivero say -- besides the fact that I think we do also

2    agree, Mr. Rivero, on the quality of lawyering and our judicial

3    staff.

4          But that being said, you know, what I'm hearing him say is

5    he's worried about the crosses, and I'd like -- I don't think

6    the crosses have been that long in this case on our side.           And

7    I would expect them to stay that -- you know, stay tight, but

8    I -- until I hear the direct, I can't -- you know, only he

9    knows what he's going to elicit on direct.

10         So I just can't promise, but I -- he is right.         Mr. Rivero

11   is right that we want to close before the holiday, if possible,

12   and get this case resolved so we can all go home for the

13   holidays.

14         So -- I mean, I remain -- I was -- I flagged for the Court

15   when I thought it wasn't possible.        They've eliminated a bunch

16   of witnesses, and they've said that Dr. Wright will testify for

17   a short period of time.      If that all remains true, maybe we can

18   finish before.    I'd like to try to do that, but I can't predict

19   that we will finish.

20             THE COURT:    All right.    All right.    By Saturday, any

21   additional jury instructions.       My intention is to have a

22   proposed set of instructions to give to each of you by Monday.

23   My intention is also to rule on the pending motion that's

24   before the Court.

25         Is there anything further that the Court can assist with
                                                                                 88
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1    or that we need to address on the record?

2              MR. RIVERO:    Not from the defense, Your Honor.

3              MR. FREEDMAN:     Not for the plaintiffs, Your Honor.

4              THE COURT:    Okay.   Take the time you need to gather

5    your items.    We do need the courtroom at 9:00 o'clock on Monday

6    morning, and I'll see you at 9:30, and we'll begin at that

7    time.

8          Have a pleasant weekend.

9              MR. FREEDMAN:     Thank you, Your Honor.

10             MR. RIVERO:    Thank you, Judge.     You, too.

11                  (Proceedings adjourned at 3:11 p.m.)

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3                           CERTIFICATE OF REPORTER

4              I certify that the foregoing is a correct transcript

5    from the record of proceedings in the above-entitled matter.

6

7    DATE:    Tuesday, November 23, 2021

8

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10

11                        /S/ James C. Pence-Aviles

12             James C. Pence-Aviles, RMR, CRR, CSR No. 13059
                             U.S. Court Reporter
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